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             Fill in this information to identify your case:

Debtor 1                 Koran Newton
                         First Name                  Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                Last Name


United States Bankruptcy Court for the:         WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number           1:2 -bk-71
(if known)                                                                                                                  Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?

   Creditor's                                                         Surrender the property.                              No
   name:                                                              Retain the property and redeem it.
                                                                      Retain the property and enter into a Reaffirmation   Yes
   Description of                                                     Agreement.
   property                                                           Retain the property and [explain]:
   securing debt:

   Creditor's                                                         Surrender the property.                              No
   name:                                                              Retain the property and redeem it.
                                                                      Retain the property and enter into a Reaffirmation   Yes
   Description of                                                     Agreement.
   property                                                           Retain the property and [explain]:
   securing debt:

   Creditor's                                                         Surrender the property.                              No
   name:                                                              Retain the property and redeem it.
                                                                      Retain the property and enter into a Reaffirmation   Yes
   Description of                                                     Agreement.
   property                                                           Retain the property and [explain]:
   securing debt:

   Creditor's                                                         Surrender the property.                              No



Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Debtor 1      Newton, Koran                                                                  Case number (if known)     1:21-bk-71165

    name:                                                         Retain the property and redeem it.                            Yes
                                                                  Retain the property and enter into a Reaffirmation
    Description of                                                Agreement.
    property                                                      Retain the property and [explain]:
    securing debt:



 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                       Will the lease be assumed?

Lessor's name:            Mini Storage Unit                                                                               No

                                                                                                                          Yes

Description of leased     Strorage unit - Storage unit- 2 beds queen and full, 2 chester of drawers
Property:                 and dressers, small intable, 2 small coffee tables, spider lamp, wall
                          mounted mirror, 4 pictures, 1 a/c unit (window unit)


                          Unit mo $65.00


Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Koran Newton                                                    X
      Koran Newton                                                            Signature of Debtor 2
      Signature of Debtor 1

      Date       October 22, 202                                          Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                           page 2
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             Fill in this information to identify your case and this filing:

Debtor 1                    Koran Newton
                            First Name                 Middle Name                     Last Name

Debtor 2
(Spouse, if filing)         First Name                 Middle Name                    Last Name


United States Bankruptcy Court for the:        WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number                                                                                                                                         Check if this is an
                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Chrysler                           Who has an interest in the property? Check one               Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:      PT Cruiser                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
          Year:       2004                                   Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:             70000             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                 At least one of the debtors and another


                                                             Check if this is community property                                $2,250.00                  $2,250.00
                                                             (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  .you have attached for Part 2. Write that number here.............................................................................=>                 $2,250.00

Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.


Official Form 106A/B                                                 Schedule A/B: Property                                                                       page 1
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 Debtor 1       Newton, Koran                                                                           Case number (if known)

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
       Yes. Describe.....
                                    microwave, fry cooker, grill                                                                                        $450.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
       Yes. Describe.....
                                     52 inch flat, 40 inch flat, stereo                                                                                 $950.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
       No
       Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
             instruments
       No
       Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                    clothing                                                                                                         $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes. Describe.....
                                    wedding rings                                                                                                       $500.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                $3,900.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                           Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

Official Form 106A/B                                           Schedule A/B: Property                                                                       page 2
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Debtor 1         Newton, Koran                                                                                                    Case number (if known)


16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................
                                                                                                                                     cash                  $20.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:


                                            17.1.       Checking Account                        Farmers Bank                                                $1.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                               Type of account:                                                 Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

Official Form 106A/B                                                                     Schedule A/B: Property                                             page 3
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Debtor 1        Newton, Koran                                                                                              Case number (if known)


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers compensation, Social Security benefits;
              unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner s, or renter s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                  Beneficiary:                               Surrender or refund
                                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
    Part 4. Write that number here.....................................................................................................................               $21.00

Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Official Form 106A/B                                                       Schedule A/B: Property                                                                           page 4
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Debtor 1         Newton, Koran                                                                                                         Case number (if known)

Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00

Part 8:         List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................              $0.00
56. Part 2: Total vehicles, line 5                                                                             $2,250.00
57. Part 3: Total personal and household items, line 15                                                        $3,900.00
58. Part 4: Total financial assets, line 36                                                                       $21.00
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $6,171.00             Copy personal property total     $6,171.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $6,171.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                   page 5
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             Fill in this information to identify your case:

Debtor 1                 Koran Newton
                         First Name                     Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name                     Middle Name                Last Name


United States Bankruptcy Court for the:          WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing


Official Form 106C
                                                                                                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on                         that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                    that lists this property              portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     Chrysler                                                     $2,250.00                                 $2,250.00     11 USC § 522(d)(5)
     PT Cruiser
     2004                                                                             100% of fair market value, up to
     70000                                                                            any applicable statutory limit
     Line from Schedule A/B: 3.1

     microwave, fry cooker, grill                                     $450.00                                 $450.00     11 USC § 522(d)(5)
     Line from Schedule A/B: 6.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

      52 inch flat, 40 inch flat, stereo                              $950.00                                 $950.00     11 USC § 522(d)(5)
     Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     clothing                                                     $2,000.00                                 $2,000.00     11 USC § 522(d)(5)
     Line from Schedule A/B: 11.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     wedding rings                                                    $500.00                                 $500.00     11 USC § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Newton, Koran                                                                          Case number (if known)

    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
                   that lists this property              portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    cash                                                            $20.00                                    $20.00        11 USC § 522(d)(5)
    Line from Schedule A/B: 16.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Farmers Bank                                                      $1.00                                     $1.00       11 USC § 522(d)(5)
    Line from Schedule A/B: 17.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $170,350?
   (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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             Fill in this information to identify your case:

Debtor 1                 Koran Newton
                         First Name                    Middle Name                  Last Name

Debtor 2
(Spouse if, filing)      First Name                    Middle Name                  Last Name


United States Bankruptcy Court for the:            WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                                Check if this is an
                                                                                                                                          amended filing

Official Form 106D
                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.




Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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     Fill in this information to identify your case:

Debtor 1                   Koran Newton
                           First Name                         Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                         Middle Name                       Last Name


United States Bankruptcy Court for the:              WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
      2.
                                                                                                                                                            Total claim

4.1          CAC Financial Group                                      Last 4 digits of account number          unts                                                    $2,040.00
             Nonpriority Creditor's Name
                                                                      When was the debt incurred?
             2601 NW Expressway Ste 1000E
             Oklahoma City, OK 73112-7238
             Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                 Debtor 1 only                                              Contingent
                 Debtor 2 only                                              Unliquidated
                 Debtor 1 and Debtor 2 only                                 Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                     Student loans
             debt                                                        Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                          report as priority claims

                 No                                                         Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                        Other. Specify




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 2
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Debtor 1 Newton, Koran                                                                                    Case number (if known)             1:20-bk-71925

          Receivables Management Corp of
4.2       America                                                  Last 4 digits of account number          unts                                                 $1,141.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?
          PO Box 21030
          White Hall, AR 71612-1030
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                               Contingent
             Debtor 2 only                                               Unliquidated
             Debtor 1 and Debtor 2 only                                  Disputed
             At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify


Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
ESS Regional                                                 Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
1 Medical Dr                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Paragould, AR 72450-4017
                                                             Last 4 digits of account number                      unts
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Magnolia Regional Medical Center                             Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
101 Hospital Dr                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Magnolia, AR 71753-2415
                                                             Last 4 digits of account number                      unts

Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                       3,181.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                       3,181.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 2
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             Fill in this information to identify your case:

Debtor 1                  Koran Newton
                          First Name                        Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                                Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1     Mini Storage Unit                                                             Strorage unit - Storage unit- 2 beds queen and full, 2
             102 Highway 79 N                                                              chester of drawers and dressers, small intable, 2 small
             Magnolia, AR 71753-3271                                                       coffee tables, spider lamp, wall mounted mirror, 4
                                                                                           pictures, 1 a/c unit (window unit)


                                                                                           Unit mo $65.00




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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             Fill in this information to identify your case:

Debtor 1                   Koran Newton
                           First Name                            Middle Name       Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name       Last Name


United States Bankruptcy Court for the:                 WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                       Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
     line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
     106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
     Column 2.

               Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

   3.1                                                                                                   Schedule D, line
                Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                Number            Street
                City                                     State                      ZIP Code




   3.2                                                                                                   Schedule D, line
                Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                Number            Street
                City                                     State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Koran Newton

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       WESTERN DISTRICT OF ARKANSAS, EL
                                              DORADO DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with           Employment status
                                                                         Not employed                                Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         GME - buyer

       Occupation may include student or Employer's address          124 Wilshire Blvd Ste 1180
       homemaker, if it applies.
                                                                     Los Angeles, CA 90001

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        2,312.18         $             N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      2,312.18               $       N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
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Debtor 1    Newton, Koran                                                                           Case number (if known)



                                                                                                        For Debtor 1           For Debtor 2 or
                                                                                                                               non-filing spouse
      Copy line 4 here                                                                      4.          $      2,312.18        $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        191.03         $              N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00         $              N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00         $              N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00         $              N/A
      5e.    Insurance                                                                       5e.        $        486.93         $              N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00         $              N/A
      5g.    Union dues                                                                      5g.        $          0.00         $              N/A
      5h.    Other deductions. Specify:                                                      5h.+       $                     + $              N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $            880.67        $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          1,431.51        $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $              N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $              N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $              N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $              N/A
      8e.    Social Security                                                                 8e.        $              0.00     $              N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $                N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00    $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            1,431.51 + $            N/A = $           1,431.51
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in                .
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $          1,431.51
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Koran Newton                                                                       Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF ARKANSAS, EL                                         MM / DD / YYYY
                                          DORADO DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent s relationship to        Dependent s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2               age              live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                                                                                   Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental        , check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                           600.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.   $                              0.00
      4b. Property, homeowner s, or renter s insurance                                                     4b.   $                              0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.   $                              0.00
      4d. Homeowner s association or condominium dues                                                      4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Newton, Koran                                                                             Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                                 0.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                                 0.00
      6d. Other. Specify: cell phone                                                                         6d.   $                                90.00
7.    Food and housekeeping supplies                                                                          7.   $                               450.00
8.    Childcare and children s education costs                                                                8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                                 0.00
10.   Personal care products and services                                                                    10.   $                                 0.00
11.   Medical and dental expenses                                                                            11.   $                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                   0.00
14.   Charitable contributions and religious donations                                                       14. $                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                   15a.   $                                 0.00
      15b. Health insurance                                                                                 15b.   $                                 0.00
      15c. Vehicle insurance                                                                                15c.   $                               130.00
      15d. Other insurance. Specify:                                                                        15d.   $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                               16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.   $                                  0.00
      17b. Car payments for Vehicle 2                                                                       17b.   $                                  0.00
      17c. Other. Specify:                                                                                  17c.   $                                  0.00
      17d. Other. Specify:                                                                                  17d.   $                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5,                                  (Official Form 106I).               18. $                                    0.00
19.   Other payments you make to support others who do not live with you.                                        $                                    0.00
      Specify:                                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on                                          .
      20a. Mortgages on other property                                                                      20a.   $                                  0.00
      20b. Real estate taxes                                                                                20b.   $                                  0.00
      20c. Property, homeowner s, or renter s insurance                                                     20c.   $                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $                                  0.00
      20e. Homeowner s association or condominium dues                                                      20e.   $                                  0.00
21.   Other: Specify:                                                                                        21.   +$                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                      1,420.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                      1,420.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,431.51
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              1,420.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                   11.51

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    Koran Newton
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Koran Newton                                                  X
             Koran Newton                                                      Signature of Debtor 2
             Signature of Debtor 1

             Date       October 22, 202                                        Date
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             Fill in this information to identify your case:

Debtor 1                   Koran Newton
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new             and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                6,171.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $                6,171.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $                      0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                      Schedule E/F.................................                             $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                         Schedule E/F............................                               $                3,181.00


                                                                                                                                    Your total liabilities $                  3,181.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 ofSchedule I................................................................................              $                1,431.51

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,420.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal, family, or household
               purpose. 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
               court with your other schedules.
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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Debtor 1    Newton, Koran                                                                  Case number (if known)

8.   From the                                            : Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $   903.00


9.   Copy the following special categories of claims from Part 4, line 6 of                        :

                                                                                                           Total claim
     From Part 4 on                  , copy the following:

     9a. Domestic support obligations (Copy line 6a.)                                                       $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $              0.00

     9d. Student loans. (Copy line 6f.)                                                                     $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                                   $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$              0.00


     9g. Total. Add lines 9a through 9f.                                                               $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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              Fill in this information to identify your case:

 Debtor 1                  Koran Newton
                           First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)       First Name                    Middle Name                    Last Name


 United States Bankruptcy Court for the:            WESTERN DISTRICT OF ARKANSAS, EL DORADO DIVISION

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                              Dates Debtor 1 lived          Debtor 2 Prior Address:                           Dates Debtor 2
                                                             there                                                                           lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income           Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.       (before deductions
                                                                                   exclusions)                                               and exclusions)
                                                 2019 Employment                   $29,951




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 Debtor 1     Newton, Koran                                                                              Case number (if known)



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
     other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
     you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                 Debtor 1                                                       Debtor 2
                                                 Sources of income                Gross income from             Sources of income             Gross income
                                                 Describe below.                  each source                   Describe below.               (before deductions
                                                                                  (before deductions and                                      and exclusions)
                                                                                  exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1 s or Debtor 2 s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                individual primarily for a personal, family, or household purpose.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                        No.      Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                 payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                 this bankruptcy case.


      Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                  paid             still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
     which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
     business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider.
      Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                  paid             still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
      Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                  paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,




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 Debtor 1     Newton, Koran                                                                                Case number (if known)



     and contract disputes.

            No
            Yes. Fill in the details.
      Case title                                              Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
      Creditor Name and Address                               Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
      Creditor Name and Address                               Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600 per                  Describe the gifts                                     Dates you gave                    Value
      person                                                                                                                 the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total                  Describe what you contributed                          Dates you                         Value
      more than $600                                                                                                         contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
      Describe the property you lost and                  Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                                                                                                  loss                              lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you



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     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
      Address                                                      transferred                                              transfer was                payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
      Address                                                      transferred                                              transfer was                payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

 Part 8:      List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of             Type of account or          Date account was        Last balance before
      Address (Number, Street, City, State and ZIP           account number               instrument                  closed, sold,            closing or transfer
      Code)                                                                                                           moved, or
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                  Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                          have it?
                                                                   and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents           Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                     have it?
                                                                 Address (Number, Street, City, State
                                                                 and ZIP Code)

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                      Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

                         means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
     controlling the cleanup of these substances, wastes, or material.
        means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
     own, operate, or utilize it, including disposal sites.
                           means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
     material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
      Name of site                                               Governmental unit                              Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
      Name of site                                               Governmental unit                              Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case              Status of the
      Case Number                                                Name                                                                       case
                                                                 Address (Number, Street, City, State
                                                                 and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

   A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                         Describe the nature of the business              Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this                                and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Koran Newton
 Koran Newton                                                          Signature of Debtor 2
 Signature of Debtor 1

 Date      October 22, 202                                             Date

Did you attach additional pages to                                                                                           (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Koran Newton
Debtor 2                                                                                                   1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
                                                Western District of Arkansas, El
United States Bankruptcy Court for the:         Dorado Division                                                applies will be made underChapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
Case number                                                                                                3. The Means Test does not apply now because of qualified
(if known)                                                                                                     military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file                                                                        (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
   own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                                $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                      0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                      0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
       Gross receipts (before all deductions)                          $      0.00
       Ordinary and necessary operating expenses                      -$      0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $               0.00
  6. Net income from rental and other real property
                                                                                 Debtor 1
       Gross receipts (before all deductions)                          $      0.00
       Ordinary and necessary operating expenses                      -$      0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                     0.00      $               0.00
                                                                                                       $              0.00      $               0.00
  7. Interest, dividends, and royalties




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Debtor 1     Newton, Koran                                                                             Case number (if known)



                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                 0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under the
      Social Security Act. Instead, list it here:
           For you                                              $                      0.00
           For your spouse                                      $                      0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act. Also, except as stated in the next sentence, do not
      include any compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If you received any retired pay paid under chapter
      61 of title 10, then include that pay only to the extent that it does not exceed the amount
      of retired pay to which you would otherwise be entitled if retired under any provision of
      title 10 other than chapter 61 of that title.                                                $                 0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war crime, a
      crime against humanity, or international or domestic terrorism; or compensation
      pension, pay, annuity, or allowance paid by the United States Government in connection
      with a disability, combat-related injury or disability, or death of a member of the
      uniformed services. If necessary, list other sources on a separate page and put the total
      below..
              .                                                                                    $                 0.00       $           0.00
                                                                                                   $                 0.00       $           0.00
                 Total amounts from separate pages, if any.                                    +   $                 0.00       $           0.00
  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.              $                        +   $           0.00   =    $

                                                                                                                                                Total current monthly
                                                                                                                                                income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


             Multiply by 12 (the number of months in a year)                                                                                     x 12
      12b. The result is your annual income for this part of the form                                                                  12b. $


  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                                 AR

      Fill in the number of people in your household.
      Fill in the median family income for your state and size of household.                                                    13.         $
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
      form. This list may also be available at the bankruptcy clerk
                                                                  s office.

  14. How do the lines compare?
      14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                There is no presumption of abuse.
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                     Go to Part 3 and fill out Form 122A 2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Koran Newton
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Debtor 1     Newton, Koran                                                                  Case number (if known)


               Koran Newton
           Signature of Debtor 1 Date
                 October 22, 202
               MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




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B2030 (Form 2030) (12/15)
                                                           United States Bankruptcy Court
                                               Western District of Arkansas, El Dorado Division
 In re       Newton, Koran                                                                                   Case No.
                                                                             Debtor(s)                       Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                       0.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                       0.00

2.    The source of the compensation paid to me was:
                 Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                 Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 22,                                                             /s/ Matthew D Mentgen
     Date                                                                    Matthew D Mentgen
                                                                             Signature of Attorney
                                                                             Mentgen Law

                                                                             PO Box 164439
                                                                             Little Rock, AR 72116
                                                                             (501) 392-5662 Fax: (866) 528-0404
                                                                             matthew@mentgenlaw.com
                                                                             Name of law firm
